UNITED STATES DISTRIc?T COURT
EASTERN DISTRICT oF NEW YORK

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UNITED STATES OF AMERICA
~ against ~ Cr. No. 95-392
PATRICK o7 SULLIVAN, also (Platt, J.)
known as “BOWLER”
Defendant,
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WHEREAS, on October 9, 2003, this Court entered a
Consent Order of Forfeiture (the “Consent Order”) Pursuant to the
Provisions of 21 U.S.C. § 853 and Rule 32.2 of the Federal Rules
of Criminal Procedure, and the agreement of defendant Patrick or
Sullivan (the “Defendant”) in which he agreeg to forfeit to the
United States of America the Sum of one hundred thousand dollars
and no cents ($100,000.00) (the “Forfeiture Money Judgment”) ; and

WHEREAS, Pursuant to the Consent Order, the Defendant

Paid the sum of one hundred thousand dollars ($100,000.00) and no

WHEREAS, the Consent Order and such forfeiture shall
made part of the sentence and included in the judgment of
conviction.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED, on consent of all parties, that all right, title and
interest to the sum of one hundred thousand dollars and no cents
($100,000.00) plus all interest accrued thereon (the “Forfeited
Funds”) is hereby condemned, forfeited and vested in the United
States of America, and shall be disposed of according to law; and

IT IS FURTHER ORDERED, ADJUDGED and DECREED that,
pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure,
this Final Order of Forfeiture shall be made part of the sentence
and included in the judgment of conviction of the Defendant; and

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, on consent
of all parties, that the United States Marshals Service and all
of its duly authorized agents and/or contractors are hereby
authorized and directed to dispose of the Forfeited Funds in

accordance with all laws and regulations; and
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iT IS FURTHER ORDERED, ADJUDGED and DECREED that the
Clerk of the Court shall forward five certified copies of this
Order to the United States Attorney’s Office, 610 Federal Plaza,
5th Fl., Central Islip, New York, Attn: Assistant U.S. Attorney
Richard Lunger.

Dated: Central Islip, New York
October 47, 2004

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HONORABLE THOMAS C. PLATT
UNITED STATES DISTRICT JUDCE

A TRUE COPY,

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